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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 7

ERUS HOLDINGS LLC, Case No. 23-11833-CTG
Debtor.

In re: Chapter 7

ERUS BUILDERS, LLC, Case No. 23-11834-CTG
Debtor.

Ini re: Chapter 7

NATIONAL CLEAN ENERGY, LLC, Case No. 23-11835-CTG
Debtor.

DECLARATION OF THE CHAPTER 7 TRUSTEE

In support of the Motion To Authorize Joint Administration Of Cases Pursuant To Federal
Rule Of Bankruptcy Procedure 1015(b) George L. Miller, as Chapter 7 Trustee (the “Trustee”) for
the estates of Erus Holdings, LLC, Erus Builders, LLC, and National Clean Energy, LLC,

(collectively, the “Debtors”) certifies that the following information is true and correct to the best

of my knowledge, information, and belief:
1. On or about November 8, 2023, the Debtors each filed Chapter 7 cases for relief
under the United States Bankruptcy Code.

2. On or about November 9, 2023, I was appointed as Chapter 7 Trustee to each of

the Debtors’ cases.
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3. Upon a review of each of the Debtors’ petitions and schedules, it is clear that a
significant majority of the Debtors’ assets and creditors belong to Erus Builders
LLC, Case No. 23-11834-CTG.

4. Each of the Debtors are affiliates as defined by 11 U.S.C. § 101(2).

5. Joint administration of the Debtors’ cases is appropriate under Bankruptcy Rule
1015(b) and section 105 of the Bankruptcy Code.

6. Joint administration of the Debtors’ estates will be less costly and burdensome
than the separate administration of each estate and will promote the economical
and efficient administration of the Debtors’ estates to the benefit of the Trustee,

the Debtors, creditors, the United States Trustee, and the Court.

George L.
Chapter 7 Trustee

Date: December 5, 2023
